        Case 1:25-cv-00604-CJN           Document 21        Filed 03/12/25   Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


ESPINOZA ESCALONA, et al.,

Plaintiffs–Petitioners,

                             v.                              Case No: 1:25-cv-00604-CJN

KRISTI NOEM, Secretary of the U.S. Department of
Homeland Security, in her official capacity, et al.,

Defendants–Respondents.



     CERTIFICATION PURSUANT TO LOCAL CIVIL RULES 83.2(h) AND 83.2(i)

       I, Wafa Junaid, hereby certify under Local Civil Rules 83.2(h) and 83.2(i) of the United

States District Court for the District of Columbia, that:

       1.      I am a member in good standing of the New York Bar. My New York Bar number

is 6031876.

       2.      I am employed by the American Civil Liberties Union Foundation.

       3.      I am representing Plaintiffs Maiker Alejandro Espinoza Escalona, Jackson Manuel

Villa Wilhelm, Jorge Alberto Castillo Cerrano, Janfrank Berrios Laguna, Alejandro Jose Pulido

Castellano, Josue De Jesus Torcati Sebrian, Walter Estiver Salazar, Hijran Malik, Ghulam

Muhammad, Md Rayhan, in this case without compensation from the Plaintiffs.

       4.      I am not the sole attorney in this matter. I am co-counsel with, among other

attorneys Deepa Alagesan and Kimberly Robin Grano of the International Refugee Assistance

Project, Eunice Hyunhye Cho and Lee Gelernt of the American Civil Liberties Union Foundation,

and Arthur B. Spitzer and Scott Michelman of the American Civil Liberties Union Foundation of




                                                  1
       Case 1:25-cv-00604-CJN           Document 21        Filed 03/12/25      Page 2 of 2




the District of Columbia, who are members of the Bar of the United States District Court for the

District of Columbia.

       5.      Pursuant to Local Civil Rules 83.2(h) and 83.2(i), I certify that I have personal

familiarity with the Local Rules of this Court and, as appropriate, the other materials set forth in

Rules 83.8(b) and 83.9(a).

Dated: March 12, 2025                                Respectfully submitted,




                                                     Wafa Junaid
                                                     American Civil Liberties Union Foundation
                                                     Immigrants’ Rights Project
                                                     125 Broad Street, 18th Floor
                                                     New York, NY 10004
                                                     T: (212) 549-2624
                                                     wjunaid@aclu.org

                                                     Attorney for Petitioners-Plaintiffs




                                                 2
